 

Case 1:20-cv-07311-LAK Docu

KAPLAN HECKER & FINK LE

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
Daniel Patrick Moynihan

500 Pearl Street

New York, New York 10007

Re: = Carroll v. Trump, 20-cy

Dear Judge Kaplan:
We represent Plaintiff E. Jean Carroll

In accordance with Your Honor’s Indiy
request a scheduling conference to discuss a
Defendant’s Motion to Substitute Party (ECF

Your Honor’s attention to this matter i

cc: Counsel of Record (by ECF) Granted to
with a view
for considg
schedule sh
event no sul
the Deputy
conference

ment 8 Filed 09/10/20 Page 1of1

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MEMO ENDORSED

September 10, 2020

-07311 (LAK) (JLC)

n this case.

vidual Rules & Practices in Civil Cases, we write to
briefing schedule for our anticipated opposition to
B) filed on September 8, 2020.

S greatly appreciated.

Respectfully submitted,

KUM _

Roberta A. Kaplan, Esq.

the following extent. Counsel shall confer promptly
toward reaching agreement on a proposed schedule
ration by the Court. Any such agreed prgpo

    
 
 

th agreement is filed by then, gounsel sh
Clerk, Mr. Mohan, and’ a prom
will be scheduled..

U.S.D.JL

 

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